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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION
Jose Mateo Guerra, Case No.: 1:18-cv-13143
Plaintiff,

Vv.
Michigan State Police, Trooper Corbin Holt,
in his individual Capacity, and Trooper Gideon

Paetz, in his individual capacity,

Defendants.

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COMPLAINT AND JURY DEMAND

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INTRODUCTORY STATEMENT
1, Plaintiff, Jose Guerra, by and through his Attorney, James Hession, brings this
Complaint for damages against Trooper Corbin Holt and Trooper Gideon Paetz, for
excessive force in violation of his Fourth Amendment right to be free from
unreasonable search and seizure. Plaintiff also brings this Complaint for damages
against the Michigan State Police for violation of his constitutional rights based upon
the Michigan State Police’s policy, custom and/or practice of violating the
constitutional rights of citizens residing in the city of Saginaw. Plaintiff also brings a
State claim for assault and battery against Trooper Corbin Holt and Trooper Gideon
Paetz.
2. On February 5, 2017, at approximately 1:50 a.m., Plaintiff was operating his
vehicle in the City of Saginaw near Montgomery and Webber.
3. At that time, Trooper Holt and Trooper Paetz were on patrol, and began
following Plaintiff’s vehicle when it turned onto Montgomery from Webber. The
troopers subsequently stopped Plaintiff because he purportedly made an illegal turn
into a private residence without using his blinker.
4, At the time of the stop, Plaintiff’s thumb and index finger on his right hand
were bandaged with athletic tape because he suffered previous wounds while cutting
steak.
5. Plaintiff was arrested for an outstanding warrant.
6. During the arrest procedure, Trooper Holt grabbed and pulled on Plaintiff’s

bandaged thumb and finger, thereby causing him to flinch from sharp, physical pain.
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7. Trooper Holt also insisted that Plaintiff interlock his fingers during the
handcuffing process, even though Plaintiff advised Trooper Holt that he was unable to
do so because of his wounds.
8. Plaintiff advised Trooper Holt that he was in physical pain during the arrest and
handcuffing process.
9. Because Plaintiff was unable to consent to the physical pain to his right thumb
and index finger inflicted upon him by Trooper Holt, and because Plaintiff was unable
to interlock his fingers because of the physical pain inflicted on the pre-existing
wounds, Trooper Holt and Trooper Paetz, under the guise that Plaintiff was willfully
obeying legal commands, proceeded to beat Plaintiff unconscious.
10. Plaintiff alleges violation of his rights under the 4" and 14°” Amendments to the
United States Constitution, as enforceable through 42 U.S.C. § 1983. He also brings a
supplemental State claim for assault and battery.
11. Plaintiff alleges a permanent closed head injury as a result of the beatings he
received from Trooper Holt and Trooper Paetz.

JURISDICTION AND VENUE
12. Plaintiff hereby incorporates all prior allegation as if set forth fully herein.
13. Jurisdiction is proper under 28 U.S.C. 81331 and 81343, because this is a civil
action seeking redress for the deprivation of rights secured by the United States
Constitution.
14. This Court has supplemental jurisdiction over Plaintiff’s State law claims under
28 U.S.C. §1367(a) because they are part of the same case or controversy as Plaintiff’s

federal claims.
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15. Venue is proper under 28 U.S.C. §1391(b)(2) because the events giving rise to
the claims occurred in Saginaw County, which is within the Eastern District of
Michigan.
PARTIES

16. Plaintiff hereby incorporates all prior allegations as if set forth fully herein.
17. Plaintiff, Jose Guerra was born on September 29, 1983 and was a 33 year old
man on February 5, 2017. Plaintiff, Jose Guerra, was a resident of Saginaw County on
February 5, 2017.
18. Defendant, Michigan State Police, is a state wide Police Agency and organized
under the laws of the State of Michigan.
19. Defendant, Trooper Corbin Holt, is or was at all times relevant to this
Complaint, a Trooper employed by the Michigan State Police. He is being sued in his
individual capacity.
20. Defendant, Trooper Gideon Paetz, is or was at all times relevant to this
Complaint, a Trooper employed by the Michigan State Police. He is being sued in his
individual capacity.

STATEMENT OF FACTS
21. Plaintiff hereby incorporates all prior allegations as if set forth fully herein.
22. On February 5, 2017, at approximately 1:50 a.m., Plaintiff was operating a
vehicle near Montgomery and Webber in the City of Saginaw, State of Michigan.
23. On that date and time, Plaintiff turned onto Montgomery from Webber.
24. On that date and time, Trooper Corbin Holt and Trooper Gideon Paetz were on

patrol in a Michigan State Police squad car.
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25. The squad car began following Plaintiff’s vehicle after it turned onto
Montgomery and subsequently stopped Plaintiff’s vehicle when Plaintiff turned into a
residential driveway because Plaintiff purportedly did not activate his blinker before
turning into the residential driveway.

26. After the stop, Trooper Corbin Holt initiated contact with Plaintiff while
Plaintiff was still seated in his vehicle.

27. At that time, Trooper Holt was advised and observed that Plaintiff’s index
finger and thumb on his right hand were bandaged with athletic tape as a result of
cuts he previously received while cutting steak.

28. Alien indicated there was an outstanding arrest warrant for Plaintiff.

29. During the arrest process, Plaintiff put his hands behind his back and consented
to being handcuffed and arrested.

30. Trooper Holt grabbed and pulled at Plaintiff’s bandaged index finger and
thumb on his right hand, thereby inflicting sharp physical pain which caused him to
flinch and aggravated his prior wounds.

31. | Trooper Holt insisted that Plaintiff interlock his fingers to be handcuffed even
though Plaintiff was unable to interlock his fingers without physical pain, and while
Trooper Holt could have handcuffed Plaintiff without Plaintiff interlocking his fingers.
32. Plaintiff informed Trooper Holt that he was unable to interlock his fingers
because of the previous wounds, pain and tenderness.

33. When Plaintiff advised Trooper Holt that he was in pain, Trooper Holt
unreasonably insisted that Plaintiff consent to the sharp physical pain that he was

inflicting upon Plaintiff, and insisted that Plaintiff interlock his fingers, while Plaintiff
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was unable to and while this insistence was not necessary or reasonable at the time of
this arrest.
34. Because Plaintiff was unable to consent to the physical pain intentionally
inflicted by Trooper Holt, Trooper Holt and Trooper Paetz proceeded to beat Plaintiff
unconscious.
35. Before beating Plaintiff unconscious, Trooper Holt and Trooper Paetz also
slammed Plaintiff against the hood of the patrol car and repeatedly tased him.
36. The conduct of Trooper Holt and Trooper Paetz was objectively unreasonable
at the time of arresting Plaintiff.
COUNT |
42 U.S.C. §1983 VIOLATION OF THE 4™ AMENDMENT, EXCESSIVE FORCE, AS TO
TROOPER CORBIN HOLT AND TROOPER GIDEON PAETZ
37. — Plaintiff hereby incorporates all prior allegations as if set forth fully herein.
38. The 4" Amendment to the United States Constitution prohibits unreasonable
searches and seizures, and the 4‘" Amendment is incorporated against the States by
the 14° Amendment. Police Officers violating the 4°" Amendment under Color of Law
are liable at law under 42 U.S.C. §1983.
39. Under the 4° Amendment, Police Officers may not use excessive force when
arresting a citizen with conduct or tactics that is objectively unreasonable.
40. Trooper Holt and Trooper Paetz, while acting under Color of Law, violated
Plaintiff’s clearly established right to be free from unreasonable search and seizure by
unnecessarily inflicting sharp physical pain upon Plaintiff’s pre-existing wounds and

subsequently beating him until he was unconscious.
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41. Trooper Holt and Trooper Paetz, while acting under Color of Law, violated
Plaintiff’s clearly established rights to be free from unreasonable seizure by beating
Plaintiff unconscious under the guise that he was resisting arrest, when the troopers
unreasonably insisted that Plaintiff consent to unbearable sharp physical pain, while
Plaintiff was unable to do so, and while it was reasonable to arrest Plaintiff without
inflicting unbearable sharp physical pain.

COUNT II
VIOLATION OF 42 U.S.C. §1983 AS TO THE MICHIGAN STATE POLICE

42. Plaintiff hereby incorporates all prior allegations as if set forth fully herein.
43. Defendant, Michigan State Police, had an unconstitutional practice, custom, or
policy of violating the Constitutional rights of citizens residing within the City of
Saginaw, while Michigan State Police trooper patrolled within the City of Saginaw.
44. This practice, custom or policy directly resulted in the violation of Plaintiff’s
4" Amendment rights.
45. Defendant, Michigan State Police, failed to train its troopers not to use
excessive force and how to use reasonable and appropriate arrest and handcuffing
techniques when citizens are suffering from physical pain from pre-existing injury
and/or pre-existing physical deformity.
COUNT III
STATE CLAIM OF ASSAULT AND BATTERY AGAINST
TROOPER HOLT AND TROOPER PAETZ
46. Plaintiff hereby incorporates all prior allegations as if set forth fully herein.

47. Defendants Trooper Holt and Trooper Paetz made an intentional and unlawful

threat to do bodily injury to Plaintiff.
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48. The threat to Plaintiff was made under circumstances that created in him a
well-founded fear of imminent peril.
49. Defendants Trooper Holt and Trooper Paetz had the apparent ability to carry
out the act if not prevented.
50. The act was not prevented and Defendants Trooper Holt and Trooper Paetz
willfully and intentionally beat Plaintiff unconscious.
51. As a direct and proximate result of Defendant Trooper Holts’ and Defendant
Trooper Paetz’ assault and battery, Plaintiff suffered injury and damage, past,
present and future, including: pain, suffering and emotional distress; humiliation,
mortification and embarrassment; medical expenses; head injury resulting in memory
problems; as well as other injuries and damages.
DEMAND FOR RELIEF
Plaintiff Respectfully Requests that this Honorable Court:
a. Assert jurisdiction over this matter;
b. Award compensatory and punitive damages to Plaintiff, in an amount to
be proved at trial;
Cc. Award Plaintiff costs and attorney fees pursuant to 42 U.S.C. 81988;
and

d. Grant or award such other relief that this Court deems just and proper.
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Dated:

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Respectfully Submitted,

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JURY DEMAND

Plaintiff, Jose Mateo Guerra, requests a trial by jury.

Respectfully Submitted,

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